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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )      Case No. 1:08CR00024-001
                                                 )
v.                                               )             OPINION
                                                 )
DERRICK LAMONT EVANS,                            )      By: James P. Jones
                                                 )      United States District Judge
                  Defendant.                     )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
United States; Derrick Lamont Evans, Pro Se Defendant.

        The defendant, Derrick Lamont Evans, proceeding pro se, filed a Motion to

Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. This matter

is before me upon the United States’ Motion to Dismiss.1 Evans responded to the

motion, making the matter ripe for disposition. After reviewing the record, I find

that Evans’ § 2255 claims are without merit and must be dismissed.

                                          I.

         In May 2008, Evans was indicted for conspiring to distribute and possess

with the intent to distribute fifty grams or more of cocaine base, in violation of 21

U.S.C. §§ 846 and 841(a)(1) (“Count One”), and for leasing, renting, using and

        1
         Although the United States attached a statement from counsel to the Motion to
Dismiss, I resolve the § 2255 motion without referencing the statement and without
converting the Motion to Dismiss into a motion for summary judgment. See, e.g., Fed. R.
Civ. P. 12(d); Rule 12 of the Rules Governing Section 2255 Proceedings.
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maintaining a place for the purpose of distributing a controlled substance, in

violation of 21 U.S.C. § 856(a)(1) (“Count Six”). The court appointed Evans

counsel, and Evans accepted a written plea offer from the United States. The Plea

Agreement stated, in pertinent part, that (1) Evans would plead guilty to Count

One, which carried a statutory range of incarceration between twenty years and life

imprisonment; (2) the United States would move to dismiss Count Six; (3) Evans

agreed to stipulate that he had been convicted in North Carolina in 1993 for selling

or delivering cocaine in 1992 (“First Conviction”); (4) the United States would not

use Evans’ felony convictions in North Carolina in 1995 for possession with intent

to sell marijuana (“Second Conviction”) and in 1997 for possession of cocaine

(“Third Conviction”) to enhance Evans’ sentence if Evans accepted responsibility

for his conduct and complied with the conditions of the Plea Agreement; (5) the

United States would not seek an additional enhancement of Evans’ penalty range,

pursuant to 21 U.S.C. § 851, based on the Second and Third Convictions; (6) the

parties stipulated that Evans was considered a “Career Offender” and an

“Organizer/Leader of Organization,” pursuant to United States Sentencing

Guidelines Manual (“U.S.S.G.”) §§ 4B1.1 and 3B1.1(a) (2007), respectively; (7)

both parties would seek a within-guidelines sentence; and (8) the United States

would recommend that the court grant a three-level reduction for acceptance of

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responsibility, pursuant to U.S.S.G. § 3E1.1(a) and (b). (Plea Agreement at 1-4,

ECF No. 544.) Evans further agreed to waive his right to file an appeal or to

collaterally attack any order entered in this case. (Id. at 8.)

      While testifying on behalf of the United States in three jury trials of Evans’

co-conspirators in late 2008, Evans admitted his involvement in the conspiracy and

acknowledged the terms of the Plea Agreement. (See, e.g., ECF Nos. 1075 at 176-

81; 1119 at 2-50; 1302 at 2-43.) Nonetheless, Evans later wrote a letter to the

court dated April 12, 2009, denying his involvement in the conspiracy. (ECF No.

1775.) In response, the United States filed a “Notice to Defendant of his Failure to

Comply with Terms of Plea Agreement” (ECF No. 1854), asserting that Evans had

breached the terms of the Plea Agreement. The United States explained that, as a

consequence of Evans’ breach, it would refuse to recommend the three-point

reduction for acceptance of responsibility and would seek a life sentence based on

Evans’ three prior felony drug convictions.

      The court granted counsel’s motion to withdraw and appointed new counsel,

who promptly filed a motion to withdraw Evans’ guilty plea (ECF No. 2021).

Second counsel argued that the Second and Third Convictions did not qualify as

predicate convictions to make Evans eligible for a life sentence and further argued

that the United States’ and first counsel’s misrepresentations about the North

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Carolina convictions “coerced” Evans into signing the Plea Agreement. After a

hearing on July 13, 2009, I denied Evan’ motion to withdraw his guilty plea and

determined that the Second and Third Convictions each constituted a “felony drug

offense” for purposes of imposing a mandatory minimum life sentence, pursuant to

21 U.S.C. § 841(b)(1)(A).2 I explained that

           Evans is simply trying to game the system by now seeking to
           withdraw his prior plea of guilty. He pleaded guilty because it was
           in his best interests to do so and not because of any lack of
           accurate advice as to the consequences. He was given a thorough
           Rule 11 examination before his plea was accepted, and his prior
           testimony and the other corroborating evidence a[m]ply supports
           his guilt.

United States v. Evans, 635 F. Supp. 2d 455, 464-65 (W.D. Va. 2009).

       New counsel also objected to the fifty kilograms of crack cocaine attributed

to Evans in the Presentence Report. Relying on Harris v. United States, 536 U.S.

545, 549 (2002), I concluded that I could lawfully determine facts that increase the

mandatory minimum sentence, and I further concluded that the United States had

proved Evans’ involvement in the conspiracy leading to the distribution of at least

fifty grams of crack cocaine or at least five hundred grams of cocaine. Due to

these findings, the statutorily mandated minimum sentence increased from twenty

       2
         A felony drug offense is defined in 21 U.S.C. § 802(44) as “an offense that is
punishable by imprisonment for more than one year under any law of the United States or
of a State or foreign country that prohibits or restricts conduct relating to narcotic drugs,
marihuana, anabolic steroids, or depressant or stimulant substances.”
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years’ imprisonment to life imprisonment. (Op. & Order 3-4, Aug. 17, 2009, ECF

No. 2137). On August 18, 2009, I sentenced Evans to life imprisonment.

      Evans appealed to the United States Court of Appeals for the Fourth Circuit.

In response to Evans’ arguments, the court of appeals determined that Evans’

guilty plea was knowing and voluntary and that Evans admitted the threshold drug

amount of at least fifty grams of crack cocaine or at least five hundred grams of

cocaine when he pleaded guilty. United States v. Evans, 462 F. App’x 315, 317-18

(4th Cir 2012) (unpublished). Relying on United States v. Simmons, 649 F.3d 237

(4th Cir. 2011) (en banc), the court further held that the Second and Third

Convictions did not constitute felony drug offenses. Evans, 462 F. App’x at 318.

Consequently, the court vacated the life sentence and remanded the case to me for

resentencing.   Id.   I subsequently sentenced Evans to three hundred months’

imprisonment. No appeal was taken.

      Evans’ timely filed pro se Motion to Vacate, Set Aside, or Correct Sentence

followed. Evans presents nine claims of ineffective assistance of counsel, one

claim that his guilty plea was not knowing and voluntary because he was not

informed of the nature and consequences of the Plea Agreement, and one claim of

prosecutorial misconduct because the United States allegedly prosecuted Evans

differently than his co-conspirators. For the following reasons, none of Evans’

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claims warrant relief, and consequently, I will grant the United States’ Motion to

Dismiss.

                                        II.

      Evans argues in his § 2255 motion that counsel’s ineffective assistance

caused his plea to be not knowing and involuntary and caused the court to err by

attributing to him at least fifty grams of crack cocaine or at least five hundred

grams of cocaine. The court of appeals rejected these arguments during direct

review. Because the arguments underlying these ineffective assistance claims were

already decided on direct appeal, they may not be relitigated in a § 2255 motion,

and Evans cannot establish deficient performance and prejudice to state an

ineffective assistance claim. Boeckenhaupt v. United States, 537 F.2d 1182, 1183

(4th Cir. 1976); see Strickland v. Washington, 466 U.S. 668, 687-88, 694 (1984).

Accordingly, these claims are dismissed.

                                        III.

      It is settled circuit law that a “criminal defendant may waive his right to

attack his conviction and sentence collaterally, so long as the waiver is knowing

and voluntary.” United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005).

Whether a waiver is knowing and voluntary requires evaluation of the “adequacy

of the plea colloquy,” with “reference to the totality of the circumstances.” United

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States v. Copeland, 707 F.3d 522, 528 (4th Cir. 2013) (internal quotation marks

and citation omitted).      “Generally, if a district court questions a defendant

regarding the waiver of appellate rights during the Rule 11 colloquy and the record

indicates that the defendant understood the full significance of the waiver, the

waiver is valid.” Id. (internal quotation marks and citation omitted).

      The record establishes that Evans entered a knowing and voluntary guilty

plea, and he affirmed his understanding that he was waiving his right to collaterally

attack the judgment and sentence. (Plea Hr’g Tr. 10:8-14, ECF No. 1298). Evans’

claims of jurisdictional defects, errors in the Presentence Report, sentencing error,

and prosecutorial misconduct fall within the scope of the collateral attack waiver in

the Plea Agreement, and consequently, these claims must be dismissed.

                                           IV.

      Evans presents multiple claims of ineffective assistance of counsel.               A

petitioner claiming ineffective assistance of counsel must satisfy the two-pronged

test set forth in Strickland v. Washington, 466 U.S. 668, 671 (1984).3 The first

prong of Strickland requires a petitioner to show “that counsel made errors so

serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant

by the Sixth Amendment,” meaning that counsel’s representation fell below an
      3
         If a petitioner has not satisfied one prong of the test, a court does not need to
inquire whether he has satisfied the other prong. Id. at 697.

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objective standard of reasonableness. 4          Id. at 687-88.   The second prong of

Strickland requires a petitioner to show that counsel’s deficient performance

prejudiced him by demonstrating a “reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Id.

at 694.   A petitioner who had pleaded guilty must demonstrate that, but for

counsel’s alleged error, there is a reasonable probability that he would not have

pleaded guilty and would have insisted on going to trial. Hill v. Lockhart, 474 U.S.

52, 59 (1985). “A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Strickland, 466 U.S. at 694.

      Evans’ claims of ineffective assistance of counsel do not show both deficient

performance and resulting prejudice required by Strickland.                Most of the

ineffective assistance claims are unsupported mere assertions and conclusory

statements, such as, “Failure to engage fully in the [a]dversarial [p]rocess,”

“Failure to adhere to Federal Rules of Criminal Procedure,” and “[F]ailed to

engage investigators to research the case.” (§ 2255 Mot. 7, 9, 10A, ECF No.

3012.)    Such conclusory assertions made without any factual support are not


      4
         Strickland established a “strong presumption that counsel’s conduct falls within
the wide range of reasonable professional assistance.” 466 U.S. at 689. “Judicial
scrutiny of counsel’s performance must be highly deferential,” and “every effort [must]
be made to eliminate the distorting effects of hindsight . . . and to evaluate the
[challenged] conduct from counsel’s perspective at the time.” Id.

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sufficient to warrant relief or even an evidentiary hearing. See, e.g., United States

v. Dyess, 730 F.3d 354, 359-60 (4th Cir. 2013); see also Rule 2(b) of the Rules

Governing Section 2255 Proceedings (requiring a § 2255 motion to specify all

grounds for relief and state the facts supporting each ground). Even for the claims

in which he provided a modicum of factual context, Evans does not sufficiently

describe deficient performance or resulting prejudice and still relies on conclusory

statements.     After reviewing the record of the proceedings and all of Evans’

remaining claims of ineffective assistance of counsel, I find that Evans fails to

describe any meritorious claim. Accordingly, the ineffective assistance claims

must be dismissed.

                                           V.

      Evans has filed a Motion to Amend the § 2255 motion in order to challenge

his purported Career Offender status pursuant to Descamps v. United States, 133

S. Ct. 2276, 2281 (2013), and Whiteside v. United States, 748 F.3d 541, 551 (4th

Cir. 2014), which held that “an erroneous application of the career offender

enhancement amounts to a fundamental miscarriage of justice that is cognizable on

collateral review.” Evans also seeks to add a citation in support of a new Brady5

claim about allegedly abusive discovery practices.


      5
          Brady v. Maryland, 373 U.S. 83, 84 (1963).
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         I will deny the Motion to Amend as futile. See Fed. R. Civ. P. 15(a)(2);

Foman v. Davis, 371 U.S. 178, 182 (1962). The Motion to Amend does not relate

back to the § 2255 motion in accord with Federal Rules of Civil Procedure 15(c)

and consequently, the claims are untimely filed and without a basis to equitably

toll the limitations period. See United States v. Pittman, 209 F.3d 314, 316-17 (4th

Cir. 2000); see also 28 U.S.C. § 2255(f); Holland v. Florida, 560 U.S. 631, 649

(2010); Wilson v. Warden, 581 F. App’x 750, 753 (11th Cir. 2014) (unpublished).

Even if it could relate back, I did not resentence Evans as a Career Offender.

Furthermore, a challenge to a career offender enhancement could have been raised

on appeal but was not, and Evans does not establish a basis to excuse that default.

Similarly, the issues discussed in the Motion to Amend fall within the collateral

attack waiver in the Plea Agreement, and it has already been determined that Evans

knowingly and intelligently agreed to that waiver. Moreover, Evans’ reliance on

Whiteside is misplaced because that panel decision was later vacated by the court

of appeals in Whiteside v. United States, 775 F.3d 180, 181 (4th Cir. 2014) (en

banc).




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                                       VI.

      In conclusion, I will deny Evans’ Motion to Amend, grant the United States’

Motion to Dismiss, and dismiss the Motion to Vacate, Set Aside, or Correct

Sentence. A separate Final Order will be entered herewith.

                                              DATED: April 9, 2015

                                              /s/ James P. Jones
                                              United States District Judge




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